      Case 19-24142-JCM                         Doc 166         Filed 02/27/25 Entered 02/27/25 14:42:39                        Desc Main
     Fill in this information to identify the case:            Document Page 1 of 5
     Debtor 1              THOMAS A. MANN, II


     Debtor 2              BETH A. MANN
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:    Western District of Pennsylvania
                                                                                     (State)
     Case Number:          19-24142JCM




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                               Court claim no. (if known):
 Name of creditor:                  PENNYMAC LOAN SERVICES LLC                                                      17-2

 Last 4 digits of any number you use to identify the debtor's account                          7   2   8   3

 Property Address:                              565 FRANKLIN ST
                                                FREEPORT PA 16229




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $     13,733.93

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $     13,733.93

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                 (g)   $     13,733.93



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $        $832.98
         The next postpetition payment is due on                  1 / 1 / 2025
                                                                 MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     THOMAS A. MANN, II                                               Case number (if known) 19-24142JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     02/27/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     THOMAS A. MANN, II                                         Case number (if known) 19-24142JCM
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
02/23/2022   1226064     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         274.72
03/25/2022   1229029     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         489.66
04/26/2022   1232075     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         489.66
05/25/2022   1235118     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         489.66
06/27/2022   1238150     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         852.00
07/26/2022   1241081     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         852.00
08/24/2022   1243974     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         489.66
09/27/2022   1246843     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         489.66
10/25/2022   1249652     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         119.86
11/23/2022   1252439     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         860.24
12/22/2022   1255185     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         505.36
01/26/2023   1257924     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,215.08
02/23/2023   1260515     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         150.48
03/28/2023   1263302     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         505.36
04/25/2023   1266113     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         505.36
05/25/2023   1268981     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         860.24
06/26/2023   1271879     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         847.91
07/25/2023   1274622     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         138.15
08/25/2023   1277401     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,190.46
09/26/2023   1280131     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         138.15
10/25/2023   1282844     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         839.69
11/27/2023   1285522     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         358.59
12/21/2023   1288101     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         387.58
01/26/2024   1290792     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         684.40
                                                                                                                 13,733.93

MORTGAGE REGULAR PAYMENT (Part 3)
01/28/2020   1147216     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         475.67
02/25/2020   1150744     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         329.63
03/23/2020   1154220     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         336.19
04/27/2020   1157675     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         340.59
05/26/2020   1161008     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         330.06
06/26/2020   1164168     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         691.11
07/29/2020   1167267     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         879.63
08/25/2020   1170345     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         553.23
09/28/2020   1173444     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         939.44
10/26/2020   1176534     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         761.31
11/24/2020   1179599     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         780.69
12/21/2020   1182538     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         598.14
01/25/2021   1185515     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,014.23
02/22/2021   1188640     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         824.10
03/26/2021   1191946     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,100.28
04/26/2021   1195190     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,160.33
05/25/2021   1198301     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         962.64
06/25/2021   1201491     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         996.85
07/26/2021   1204693     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,600.33
08/26/2021   1207833     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,122.33
09/24/2021   1210936     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,150.44
10/25/2021   1214014     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,144.46
11/22/2021   1217047     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         753.82
12/23/2021   1220130     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         753.82
01/26/2022   1223189     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       1,018.72
02/23/2022   1226064     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
03/25/2022   1229029     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
04/26/2022   1232075     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
05/25/2022   1235118     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
06/27/2022   1238150     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
07/26/2022   1241081     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
08/24/2022   1243974     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
09/27/2022   1246843     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
10/25/2022   1249652     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         842.12
11/23/2022   1252439     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
12/22/2022   1255185     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58

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Debtor 1     THOMAS A. MANN, II                                         Case number (if known) 19-24142JCM
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
01/26/2023   1257924     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
02/23/2023   1260515     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
03/28/2023   1263302     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
04/25/2023   1266113     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
05/25/2023   1268981     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
06/26/2023   1271879     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
07/25/2023   1274622     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
08/25/2023   1277401     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
09/26/2023   1280131     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
10/25/2023   1282844     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         796.58
11/27/2023   1285522     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
12/21/2023   1288101     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
01/26/2024   1290792     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
02/26/2024   1293436     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
03/26/2024   1296088     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
04/25/2024   1298750     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
05/29/2024   1301457     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
06/25/2024   1303988     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
07/25/2024   1306594     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
08/26/2024   1309158     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
09/25/2024   1311752     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                         926.91
10/25/2024   1314276     PENNYMAC LOAN SERVICES LLC           AMOUNTS DISBURSED TO CREDITOR                       2,824.24
                                                                                                                 50,776.33




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

THOMAS A. MANN, II
BETH A. MANN
565 FRANKLIN ST.
FREEPORT, PA 16229

KENNETH STEIDL ESQ
STEIDL & STEINBERG PC
436 SEVENTH AVE STE 322
KOPPERS BUILDING
PITTSBURGH, PA 15219

PENNYMAC LOAN SERVICES LLC
PO BOX 660929
DALLAS, TX 75266-0929

PENNY MAC LOAN SERVICES LLC
PO BOX 2410
MOORPARK, CA 93020

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




2/27/25                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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